






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00628-CR






Braulio Briones a/k/a Bravlio Briones, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 427TH JUDICIAL DISTRICT

NO. D-1-DC-07-302598, HONORABLE JIM CORONADO, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		A jury convicted appellant Bravlio Briones of the offense of murder.  See Tex. Penal
Code Ann. § 19.02(b) (West 2003).  Punishment was assessed at thirty years' imprisonment.  In a
single issue on appeal, Briones asserts that the district court abused its discretion in excluding
as&nbsp;hearsay evidence that, according to Briones, was critical to his defense at trial.  We will affirm
the judgment.


BACKGROUND

		Because Briones does not challenge the sufficiency of the evidence supporting his
conviction, we need not discuss in detail the evidence presented during trial.  Briefly, the jury heard
testimony that on the night of October 14, 2007, Briones and his cousin, Juan Salas, went to a bar
on North Lamar in Austin and proceeded to get into a fight with three individuals--Javier Malata,
Eris "Manolo" Hernandez, and Marvin Rencinos.  Of those five participants in the fight, only
Hernandez and Briones testified at trial.  Hernandez testified that during the course of the
fight,&nbsp;Briones stabbed Malata in the back with a knife.  Then, according to Hernandez, Briones
got&nbsp;into his truck and drove it around the parking lot in circles, hitting several cars and two
people--Jose Rodriguez, a patron of the bar who was not involved in the fight, and Rencinos.  After
hitting Rencinos with his truck, Hernandez recalled, Briones backed up and hit Rencinos with his
truck a second time.  Immediately thereafter, Hernandez testified, Briones got out of the vehicle and
stabbed Rencinos with his knife.  Briones then ran away.

		Rencinos was transported to the hospital where he later died.  The medical examiner
attributed the cause of death to both blunt force trauma from being hit twice by the truck and sharp
force trauma from being stabbed.  The medical examiner explained that the knife had punctured one
of Rencinos's lungs, resulting in massive blood loss and oxygen deprivation to his brain, while the
truck had severely fractured and tore Rencinos's legs, also resulting in significant blood loss.

		Briones was later apprehended in San Antonio and charged with the murder of
Rencinos. (1)  Briones's theory at trial was that he had acted in self-defense and in defense of his
cousin.  Briones testified that he had consumed "about 11 beers" that night and was drunk during
the altercation.  The incident began, Briones recalled, when he called Malata a "son of a bitch."  That
statement, according to Briones, had prompted Malata and the other men to come toward him and
his cousin in a "threatening" manner.  To defend himself, Briones claimed, he had stabbed Malata
and then retreated to his truck.  Then, Briones continued, after he got into his truck, he observed
Rencinos either punching or "trying to hit" his cousin.  Briones admitted that he then hit Rencinos
with his truck (he did not recall hitting him a second time), got out of the truck, and stabbed
Rencinos with his knife.  Briones did so, he claimed, to protect his cousin.  On cross-examination,
Briones admitted that he had not observed any of the claimed aggressors, including Rencinos, use
or display a weapon during the altercation. 

		The jury was instructed on the law of self-defense, see id. § 9.31 (West Supp. 2009),
deadly force in defense of a person, see id. § 9.32 (West Supp. 2009), and defense of a third person. 
See id. § 9.33 (West 2003).  The jury found Briones guilty of murder as charged in the indictment
and assessed punishment at thirty years' imprisonment.  This appeal followed.

		

STANDARD OF REVIEW

		When reviewing a trial court's decision to admit or exclude evidence, we apply an
abuse-of-discretion standard.  Ramos v. State, 245 S.W.3d 410, 417-18 (Tex. Crim. App. 2008).  The
trial court does not abuse its discretion unless its ruling lies "outside the zone of reasonable
disagreement."  Walters v. State, 247 S.W.3d 204, 217 (Tex. Crim. App. 2007).


ANALYSIS

		In his sole issue, Briones claims that the district court abused its discretion in
excluding as hearsay evidence that, according to Briones, supported his claim that he had killed
Rencinos while defending his cousin.  During the investigation, Officer Ronald Ruiz of the
Austin&nbsp;Police Department took statements from three eyewitnesses to the fight who, according to
Briones, could not be located in time for the trial.  One of these eyewitnesses was Escude Calderon. (2)
Because Calderon did not speak English, Ruiz interviewed him with the assistance of
Officer&nbsp;Bradley Herries, who, according to Ruiz, was more fluent in Spanish than he was.  Outside
the presence of the jury, Ruiz explained that Herries asked Calderon questions and conveyed
Calderon's answers to Ruiz.  Then, Ruiz "wrote down a paraphrase of what [Herries] said."  When
asked if he had any reason to question whether Herries was accurate in his translation, Ruiz testified,
"I mean, he did what I asked as far as I know."  However, Ruiz added that Herries "would probably
have more license" to "change the question a little bit" and "sometimes you don't phrase things quite
so well and you get the gist of what he translates for me."

		Briones elicited the following testimony from Ruiz concerning his interview
of&nbsp;Calderon:


Q:	And what you wrote down or paraphrased was that Mr. Escude Calderon told
you that he and [the other two eyewitnesses] were leaving the [bar] is when
Mr. Escude noticed Mecino [sic], which is Marvin, and a Hispanic male
wearing a black shirt were fighting in the parking lot.


A:	Yes, sir.


Q:	Is that what you put down in your report?


A:	That's what I put down in my report, yes, sir.


Q:	Further, it says Escude stated that someone in the parking lot yelled that the
guy had a punta; is that correct?


A:	Yes, sir.


Q:	And, further, Escude stated he did not see a knife.  Escude stated that a grey
truck backed up and started driving circles in the parking lot.  And Escude
stated he believed that he thought the grey truck crashed into the parked cars
on purpose to help his friend in the black shirt.  Is that what you wrote down?


A:	Yes, sir.


Q:	And, in fact, there was a crash at that scene, correct?


A:	Yes, sir.


Q:	So the physical evidence of the crash corroborated what this man said,
correct?


A:	Yes, sir.



The State objected to the above testimony on the basis of hearsay, and the district court sustained the
State's objection.

		On appeal, Briones does not challenge the district court's determination that
the&nbsp;testimony was hearsay.  Rather, he claims that the testimony should have been admitted in spite
of the hearsay rule because it was "crucial to the defendant's right to a fair trial," "completely
undermines [Hernandez's] credibility," and "supports Appellant's testimony that he was
defending&nbsp;his cousin."

		The U.S. Constitution guarantees criminal defendants "a meaningful opportunity
to&nbsp;present a complete defense."  Holmes v. South Carolina, 547 U.S. 319, 324 (2006); Crane
v.&nbsp;Kentucky, 476 U.S. 683, 689-690 (1986).  However, "[a] defendant's right to present relevant
evidence is not unlimited, but rather is subject to reasonable restrictions."  United States v. Scheffer,
523 U.S. 303, 308 (1998).  "The right to present relevant testimony . . . . 'may, in appropriate cases,
bow to accommodate other legitimate interests in the criminal trial process.'"  Rock v. Arkansas,
483&nbsp;U.S. 44, 55 (1987) (quoting Chambers v. Mississippi, 410 U.S. 284, 295 (1973)).  One
such&nbsp;legitimate interest is ensuring that "reliable evidence is presented to the trier of fact in a
criminal trial."  Scheffer, 523 U.S. at 309.  As the Supreme Court has explained, this is the reason
why hearsay is generally excluded from trial:


The hearsay rule, which has long been recognized and respected by virtually every
State, is based on experience and grounded in the notion that untrustworthy evidence
should not be presented to the triers of fact.  Out-of-court statements are traditionally
excluded because they lack the conventional indicia of reliability: they are usually not
made under oath or other circumstances that impress the speaker with the solemnity
of his statements; the declarant's word is not subject to cross-examination; and he is
not available in order that his demeanor and credibility may be assessed by the jury. 


Chambers, 410 U.S. at 298.

		However, "where constitutional rights directly affecting the ascertainment of guilt
are&nbsp;implicated, the hearsay rule may not be applied mechanistically to defeat the ends of justice." 
Id. at 302.  In other words, the hearsay rule should not be used to exclude evidence that is "critical"
to the defendant's case.  Id.  Excluding such critical evidence denies the defendant "a trial in accord
with traditional and fundamental standards of due process."  Id.  The Texas Court of Criminal
Appeals has similarly held that "the exclusion of a defendant's evidence will be constitutional error
only if the evidence forms such a vital portion of the case that exclusion effectively precludes the
defendant from presenting a defense."  Potier v. State, 68 S.W.3d 657, 665 (Tex. Crim. App. 2002). 		In this case, the out-of-court statements allegedly made by Calderon (as translated by
Officer Herries and paraphrased by Officer Ruiz) tend to show, at most, that there was a fight
between Rencinos and a man "wearing a black shirt" (supposedly Briones's cousin), that Calderon
heard "someone in the parking lot" yell that "the guy had a punta," that Calderon "did not see a
knife," that Calderon observed a truck drive around the parking lot in circles, and that the driver
of&nbsp;the truck "crashed into the parked cars on purpose to help his friend in the black shirt."  However,
Calderon made no statement tending to show that Rencinos was using or attempting to use deadly
force against Briones's cousin at the time Briones hit Rencinos with his truck (either the first or
second time) or that Rencinos was still using or attempting to use deadly force against Briones's
cousin when Briones got out of his truck and stabbed Rencinos with his knife.  Nor did Calderon
make any statement tending to show that Briones had a reasonable belief that his actions were
immediately necessary to protect his cousin from Rencinos's use or attempted use of deadly force. 
See Tex. Penal Code Ann. §§&nbsp;9.31-.33 (listing elements that must be satisfied to prove self-defense,
deadly force in defense of person, and defense of third person).  Thus, the district court would not
have abused its discretion in finding that the hearsay statements at issue were not "vital" to Briones's
defense.  See Potier, 68 S.W.3d at 666 ("Exclusions of evidence are unconstitutional only if they
'significantly undermine fundamental elements of the accused's defense.'") (quoting Scheffer,
523&nbsp;U.S. at 315).  Moreover, Briones testified in his defense and was able to present his version of
events to the jury in much greater detail than any of the statements allegedly made by Calderon. 
Thus, the district court's ruling did not deny Briones his right to present a defense.  See Potier,
68&nbsp;S.W.3d at 666 (finding that exclusion of evidence did not prevent defendant from presenting
his&nbsp;defense when other evidence supporting defense theory, including defendant's own testimony,
was admitted).  We also observe that in this case, unlike in the Chambers case on which Briones
relies in his brief, the hearsay statements were not made "under circumstances that provided
considerable assurance of their reliability."  See Chambers, 410 U.S. at 300-01 (explaining that
hearsay statements at issue were spontaneous, corroborated by other evidence, and against interest
of declarant).  Instead, the statements here were translated by an officer who may have "changed the
questions a little bit," paraphrased by another officer who was not fluent in Spanish, and included
hearsay within hearsay from an unidentified source (the "someone in the parking lot" who yelled
that&nbsp;"the guy had a punta").  We cannot conclude on this record that the district court abused its
discretion in excluding this evidence.

		We overrule Briones's sole issue.


CONCLUSION

		We affirm the judgment of the district court.


	

						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Waldrop

Affirmed

Filed:   May 27, 2010

Do Not Publish
1.   The other individual whom Rencinos allegedly stabbed, Malata, survived his injuries.
2.   The other two eyewitnesses were Gustavo Mendoza and Perez Ordonez.  Although Briones
mentions them in his brief, he does not discuss what they told Officer Ruiz, nor did he make an offer
of proof during trial concerning their statements.  Accordingly, we limit our discussion to Calderon. 


